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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


MELISSA HIGNELL,                             /
WHITE SPIDER RENTAL                          /              CIV. ACTION NO. 19-cv-13773
CONCIERGE, LLC.,                             /                    22-cv-2991. 23-cv-5000
GARETT MAJOUE,                               /              SECTION B (1)
RUSSELL FRANK,                               /
SAMANTHA and BOB MCRANEY,                    /              JUDGE: Ivan L. R. Lemelle
and JIMMIE TAYLOR                            /
               Petitioners                   /              MAG: Janis Van Meerveld
                                             /
        versus                               /
                                             /
THE CITY OF NEW ORLEANS                      /
               Defendant                     /
                                             /
c/w                                          /
                                             /
TINA MARQUARDT                               /
            Petitioner                       /
     Versus                                  /
                                             /
THE CITY OF NEW ORLEANS                      /
          Defendant                          /

                 CITY’S RESPONSE TO MOTION FOR ATTORNEY’S FEES

        NOW INTO COURT, comes the City of New Orleans (hereinafter “City”), who in

compliance with this Court’s order of July 26, 2024, submits the following response to respectfully

oppose the Motion for Attorney’s Fees and Costs filed by Tina Marquardt. Subsequent to the

order, counsel for Marquardt submit a third memorandum in support on January 29, 2024, less

than twenty-four hours before the City’s response was due. For the following reasons, Plaintiff’s

request should be significantly reduced.




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                                            INTRODUCTION

        As the Court is aware, Plaintiff’s counsel initially sought to recover $62,406.001 for hours

he purportedly expended in the prosecution of this matter. The City was shocked by what it views

as an inflated and inappropriate request. As noted by the Court, owing to plaintiffs “prevailing on

some of their substantive claims. . . they may be entitled to limited damages, attorney fees, costs

and possibly other awards.”2 This Court also reminded counsel of their obligations to meet and

confer prior to filing any motions. No such meet and confer obligation occurred. On May 22,

2024, the Court ordered the City to file a response to Marquardt’s motion. The Court further

ordered that the parties were to meet and confer regarding “stipulations and/or lists of witnesses

and exhibits reasonably anticipated for use at the hearing on the motion for attorneys’ fees” no

later than Friday June 7, 2024.3 Counsel for Marquardt participated in the meet and confer, but

counsel for Marquardt refused to engage in any meaningful discussions regarding stipulations. On

June 3, 2024, the City filed its opposition to the Marquardt’s motion.4

        On June 10, 2024, the Court held a status conference with the parties. The Court instructed

counsel for Marquardt that an award for attorney’s fees would only be based on work performed

on the issues for which Marquardt prevailed. Further the Court “encouraged to confer in good

faith on discovery issues and, moreover, on good faith consideration of possible amicable

resolution of the instant Motion for Attorneys' Fees - reserving all rights of appeal on entitlement




1
  Rec. Docs. 258, 258-1, 258-2, and 258-3
2
  Rec. Doc. 251, emphasis added.
3
  Rec. Doc. 281.
4
  Rec. Doc. 283.

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issues.”5 Despite requests from counsel for the City, Marquardt’s counsel refused to engage in

such discussions.

        On June 16, 2017, counsel for Marquardt filed a reply memorandum in response to the

City’s opposition.6 In the memorandum, counsel claimed that the amount of work performed was

138.84 hours for a total of $59,103.00, a sum $3,303 less than the initial request.7 Of this amount,

counsel claims that 69.51 hours (for a total of $31,207.50) were expended on the issue upon which

Marquardt prevailed.8

        On January 29, 2024, less than twenty-four hours before the City’s replay was due, counsel

for Marquart filed “Supplemental Memorandum in Support of First Supplemental Motion for

Attorney [sic] Fees”.9 In this memorandum, counsel for Marquardt submits a third figure

purporting to be the total number of hours expended.10 Now Marquart claims that it was 57.64

hours expended for a total of $25,938.00.11 In the same memorandum, counsel now seeks an

additional $7,029.00 for purported expenses related to discovery.

                                   LAW AND ARGUMENT

        Counsel’s latest filing has again moved the target with respect to his claim for attorney’s

fees. This third iteration of counsel’s memorandum in support, entries have been modified and

are no longer consistent with prior iterations. As counsel does not use any tracking software for

billables, the table provided calls into serious question the methodology and accuracy of the bills.

Such “flexibility” introduces impermissible ambiguity and underscores why discovery was

necessary. While each downward departure is appreciated, it only supports the City’s very


5
  Rec. Doc. 284.
6
  Rec. 285.
7
  Id.
8
  Id.
9
  Rec. Doc. 301-2.
10
   Id.
11
   Id.

                                                 3
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legitimate concerns over the accuracy and contemporaneous of the entries. This is especially so

given that specific entries have been altered or deleted.

        Despite the efforts of counsel for the City, counsel for Marquardt has steadfastly refused

to engage in informal discovery and settlement discussions. Counsel for the City tried to engage

in an amicable resolution on the amount of attorney’s fees, but the efforts were not met with any

real interest towards resolution.

        The limited discovery responses did reveal additional details supporting the City’s

concerns. Counsel’s fee agreement in pertinent part is as follows:




The paragraph continues:




        In discovery, the City inquired as to whether counsel for Marquardt submitted any monthly

statements, invoices, or bills to his client.




        Per the documents submitted in discovery, counsel for Marquardt never submitted any

statement, invoices, or bills. This includes any for services which were paid out of the “Advanced


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Deposit” paid by Marquardt. To date, it only appears that Marquardt has only paid this initial

deposit and nothing more.




Counsel for Marquardt also provided what appears to be a Hancock Whitney “Free Business

Checking” bank statement indicating a “Record of Deposit” being made in the amount of $3,000

on August 30, 2023. The City is unaware if the account is one that complies with Louisiana Rules

of Professional Conduct Rule 1.15. Safekeeping Property.




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                                        CONCLUSION

       Counsel’s “billing records” submitted by Marquardt are so grossly inadequate and inflated

that this Court is placed in the position of having to guess as to what a proper award should be.

Edward Washington has submitted a moving target memorandum in support of his ever-varying

fees based on unreliable accounting. While the City realizes its obligation to pay Marquardt’s

reasonable attorney’s fees, counsels actions have made it near impossible to determine what those

should be.



                                     Respectfully submitted,

                                     ___s/ Mark D. Macnamara________________________
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